IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

CIVIL RICO COMPLAINT

Glenn Joseph Hopkins and
Cindy Sue Hopkins deceased
Plaintiff;
Vv.
Christian Homes Inc
Timothy Phillippe CEO of Christian Homes Inc
Lewis Memorial Christian Village,
Cochran Management Services inc,
Law firm of Thomas, Mamer, and Haughey:
Bruce Warren, Senior partner
Illinois Workers Compensation Commission,
Michael Latz, Chairman of the Illinois Workers
compensation commission.
Lisa Langley,
Dee Dee Wagner,
Laurie Hill,
Paula Ryan,
Amy Zayer,
Doctor Michael Watson,
Dr, Trudeau,
Nancy Lindsay,
Mario Basurto,
Two John Does of the
workers compensation commission
William Gallagher
Eric Chovanec
Illinois Department of Insurance Regulation
William Blumthal
Hospital Sisters
Country Companies Insurance Company.
Barbara Collins
Kurt M Koepke
Kurt F. Bock
Mary Bauman
Defendants

Case No:

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JURISDICTION
This District court has subject matter jurisdiction over the parties under
28 U.S.C.§1331, in re: The Racketeering and Corrupt Organizations Act,
(RICO) 18 U.S.C.§1962(a), (b), (c) and (d), Conspiracy to violate Civil Rights
42 U.S.C§1983, and Title II of the Americans with Disabilities Act, 42
U.S.C.§§12131-12165, and supplemental jurisdiction in re; 28 U.S.C.§1367(a)

for the State law and State Tort claims.
I.
Parties in this civil Action
Plaintiff
Plaintiff Glenn Joseph Hopkins, on behalf of himself and the estate of
Cindy Sue Hopkins deceased.
Plaintiff address.
Transient: No current address. forwarding Mailing address is 92 Lucky
Horseshoe, Riverton Illinois 62561 21+ 6&8 3354
Defendants
1. Timothy Phillippe, in his personal capacity as CEO Christian Homes

Inc, 622 Emerson Road, Suite 310, St. Louis, MO 63141.

2. Christian Homes Inc, 200 N. Postville Drive, Lincoln, Illinois

3. Lewis Memorial Christian Village, 3400 West Washington Street, City
of Springfield, Sangamon County of Illinois.

4. Cochran Management Services inc, 2 East Main Town Centre building,
suite 200 Danville Illinois.

4. Law firm of Thomas, Mamer, and Haughey, 30 Main Street, Suite 500,
Champaign I]linois.

5. Bruce Warren, 30 Main Street, Suite 500, Champaign Illinois

6. Illinois Workers Compensation Commission, 100 W. Randolph St. #8-
200 Chicago, IL 606C1

7. Michael Latz, 100 W. Randolph St. #8-200 Chicago, IL 60601 in his
personal capacity as Chairman of the Illinois workers compensation
commission .

8. Lisa Langley, address unknown.

9. Dee Dee Wagner, address unknown,

10. Laurie Hill, address unknown,
11. Paula Ryan, 2 East Main Town Centre building, suite 200 Danville
{llinois, .

12. Amy Zayer, 2 East Main Town Centre building, suite 200 Danville
Illinois.

13. Doctor Michael Watson, 320 E Carpenter St Suite 1A Springfield, IL
62702, .

14, Dr, Trudeau, 340 W Miller St Suite LEVEL, Springfield, IL 62702.

15. Nancy Lindsay, 100 W. Randolph St. #8-200 Chicago, IL 60601 in her
personal capacity as an arbitrator of the Illinois workers compensation
commission.

16. Mario Basurto, 100 W. Randolph St. #8-200 Chicago, IL 60601 in his
personal capacity as a commissioner of the Illinois workers compensation
commission.

17. Two John Doe as unidentified commission members. 100 W. Randolph
St. #8-200 Chicago, IL 60601 in their personal capacity as a commissioners
of the Illinois workers compensation commission.

18. William Gallagher 100 W. Randolph St. #8-200 Chicago, IL 60601 in
his personal capacity as an arbitrator of the Illinois workers compensation
commission.

19. Eric Chovanec. 30 Main Street, Suite 500, Champaign Illinois.

20. Illinois Department of Insurance Regulation, 320 W Washington,
Springfield, IL 62767.

21. William Blumthal 320 W Washington, Springfield, IL 62767 in his
personal capacity as a chairman of the Illinois Department of Insurance
Regulation.

22. Hospital Sisters, 4936 LaVerna Road, Springfield, Illinois 62707
operating St. Johns Hospital; 800 E. Carpenter Street, Springfield, [L 62769 .

23. COUNTRY Financial as parent, and COUNTRY Mutual Insurance
Company a subsidiary. 1701 N Towanda Ave, Bloomington, IL 61701-2057 .
24. Kurt F. Bock. in his personal capacity as CEO of COUNTRY Financial
as parent, and COUNTRY Mutual Insurance Company a subsidiary 1701 N
Towanda Ave, Bloomington, IL 61701-2057.

25. Barbara Collins, address unknown.

26. Kurt M. Koepke, 2341 W. White Oaks Drive, Suite A, Springfield
Illinois.

27. Mary Bauman, address unknown.

II.
STATEMENT OF THE FACTS OF THE CASE
[1]

That the following 1s stated fact for reason of filed Bills of particulars in
workers compensation proceedings that were never denied or contested, thus
admitted in all proceedings and under FRCP 26, was never contested or
disputed before an arbitrator, see Complaint Evidence Affidavit exhibit 2:

Glenn Joseph Hopkins, hereinafter identified as Hopkins, a Disabled

person under Title II, Complaint Evidence Affidavit exhibit 1, page 2, was a
material witness to the events in controversy as the husband of Cindy Sue
Hopkins, duly married in full accordance with Illinois law on April 3, 1977,
with the marriage in effect on 2/5/2010, when on that date Cindy Hopkins
died intestate from her injuries.

[2]

Hopkins stated the case facts in Bills of particular that was never denied,
nor disputed in all subsequent workers compensation proceedings, and was
never disputed before an arbitrator, see Complaint Evidence Affidavit exhibit
2, page 3 to 14 as to paragraphs 2 to 14, thus admitted by acquiescence, that

Post Mortem, in the legal capacity as heir and administrator of her estate,

Hopkins showed before the Illinois Workers Compensation arbitrators an
employer/employee relationship existed between Cindy Hopkins, hereinafter
referred to as Cindy, and the 1983/RICO enterprise identified as Christian
Homes Inc, under the control of the 1983/RICO person identified as Timothy
Phillippe, CEO, with the Corporate offices of the enterprise located at 200 N.

Postville Drive, Lincoln, Illinois, by its subsidiary, Lewis Memorial Christian
village, hereinafter identified as Lewis, located at 3400 West Washington
Street, City of Springfield, Sangamon County of Illinois, from June 12 2002
until Cindy was terminated on October 12, 2005.

[3]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, was never contested or disputed before an
arbitrator, see Complaint Evidence Affidavit exhibit 2, page 3-14 as to
paragraph 8:

In 2004, a new administrator hired the 1983/RICO person identified as

Lisa Langley, (hereinafter referred to as “Langley”) to be Housekeeping
supervisor, who in or about January of 2005, began making unfair changes to
the workplace rules resulting in complaints by Cindy for unfair labor
practices to the administrator.

[4]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, and was never contested or disputed before
an arbitrator, see Complaint Evidence Affidavit exhibit 2, page 3-14 as to
paragraphs 4-5, and admitted by acquiescence that-

Langley retaliated by modification of conditions of Cindy’s employment

resulting in the aggravated battery of Cindy that disabled and killed her in
that;

(a) Cindy was a small slender woman, yet Langley assigned Cindy in May
2005 to perform three to five deep cleans of patient rooms each day, a serious
undue hardship when all other Lewis employees did an average of one.

(b) Langley in May of 2005 assigned only Cindy, thus disparate treatment,
to empty kitchen garbage cans that required Cindy, by herself, to lift and
carry multiple bags of garbage that weighed on average in excess of 70 to 100
pounds and push them up into a construction style dumpster.

(c) That by July 1, 2005 Cindy began experiencing pain in her prior injured
left shoulder. Cindy reported this pain in her shoulder to Langley, and
requested relief from the harsh job conditions. Langley refused, telling Cindy
she should quit if the work was hurting her. Cindy appealed to the
administrator about this hazing. The administrator stated that Cindy should
just find another job. Before she could do so:

[5]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, and never contested or disputed before an
arbitrator, see Complaint Evidence Affidavit exhibit 2 page 3-14 as to
paragraph 6, and is admitted by acquiescence that:

On July 27, 2005, at approximately 10; 380 AM, while Cindy was

performing an assigned deep clean, she felt a popping sensation in her mid
chest. An intense pain in her mid-thoracic back followed this popping
sensation, and it became hard to breathe, so Cindy immediately went to the
assistant supervisor Ann Caruthers, reported this injury, and requested
permission to see a doctor. The assistant supervisor refused, stating that
Cindy had to see a doctor on her own time as per Langley’s policy. Cindy was
required to complete her assigned work duties of her shift with an injury that
was later determined to have been a disabling neuromuscular skeletal
disorder that included a diaphragmatic rupture and hernia of 1/3 of her
stomach into her chest cavity.
[6]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, was never contested or disputed before an
arbitrator, see Complaint Evidence Affidavit exhibit 2, page 3-14 as to

paragraph 7, and admitted by acquiescence that:
After work on that same day of July 27, 2005, Hopkins took Cindy to St.

Johns ER, where her workplace injury to her mid back was reported to the
ER doctor.

(a) The popping sensation and subsequent back pain was reported by
Cindy, as having occurred while performing a deep clean under a table.

(b) After an exam and an x-ray, but no MRI, the ER doctor found that this

reported injury was a work place injury, and diagnosed Cindy’s “reported

 
workplace injury” as a muid-thoracic back sprain. Complaint Evidence
Affidavit exhibit 4, page 19-27.
[7]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in al]
proceedings and under FRCP 26, was never contested or disputed before an
arbitrator, see Complaint Evidence Affidavit exhibit 2, page 3°14 as to
paragraph 8, thus admitted by acquiescence that:

Cindy called Lewis upon her return home from the ER, on July 27, 2005,

and reported the work place injury and diagnosis. Lewis ordered Cindy to see
the 1983/RICO person identified as Doctor Sunil K. Bansal, for the exclusive
treatment of Cindy’s “reported workplace injury”. Cindy was told she had No
choice of doctors.

(a) On July 29, 2005, Dr. Bansal examined Cindy. Cindy reported the
injury as a popping feeling in her mid back approximately between the
bottom the left shoulder blade, and her midthoracic spine, followed by
breathing problems. Cindy reported pain from that point in her mid back that
she had felt the pop sensation that started back pain that radiated upwards
and into her arm. Bansal recorded the reported workplace injury to her mid
back, but falsely reported this accident as having caused injury to the back
and neck by moving a bed, when it was actually reported as just a back injury
having occurred while bent over doing a deep clean under a table, and
omitted the breathing problem, Complaint Evidence Affidavit exhibit 5, page
29-33, Dr Bansal was not informed by Cindy of any neck injury, and there
was no neck injury claim by Cindy. Note the letter to Bansal as the only
existing record of what transpired.

(b) Dr. Bansal reported Cindy’s pain from her prior injured left shoulder,
but did not find a new injury to the arm.

(c) Dr. Bansal confirmed that the mid-back injury complained of was work
related, and assigned Cindy to hight duty work. Dr. Bansal did confirm the
ER diagnosis of a mid thoracic back sprain but Dr. Bansal falsely reported
Cindy did not report breathing problems when she had, thus he was
falsifying medical records compromising care, see the letter to Dr. Bansal,
noting Bansal fled the country after news of Cindy’s death.

[8]

That for reason of filed Bills of particulars In workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, and was never contested or disputed before
an arbitrator, see Complaint Evidence Affidavit exhibit 2, page 3-14 as to
paragraph 9, that:

Langley made an injury report, but then fired Cindy on July 30, 2005 for

reason of Cindy failing to provide someone to work in her place due to her
injury. After notice of an illegal termination, the administrator reinstated
Cindy. Cindy was assigned to light duty.

[9]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, and was never contested or disputed before
an arbitrator, see Complaint Evidence Affidavit exhibit 2, page 3-14 as to
paragraph 10,

That it is admitted that on August 8, 2005, Mr. William Shaffer timely

filed an adjustment of claim for the reported workplace injury to Cindy’s mid
thoracic back, and the aggravated left shoulder injury.
[10]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, and was never contested or disputed before
an arbitrator, see Complaint Evidence Affidavit exhibit 2, page 3-14 as to
paragraph 11, and admitted by acquiescence that:

Dr. Bansal refused to perform a medically necessary MRI to determine

Cindy Hopkins reported workplace injury to her mid back, and fraudulently
stated that:

(1) that the swelling was too bad to perform an MRI, and,

(2) Dr Bansal stated that Cindy should receive “snake oil treatment” in the

form of Hydrocortisone shots to relieve the swelling and pain in her mid back
and thus allow Cindy to return to full time work duties when Cindy had an
as yet undiagnosed diaphragmatic rupture and hernia, And thus;

(3) For reason of being unable to obtain the necessary care and treatment
for Cindy’s workplace injury from Dr. Bansal, Glenn Hopkins made an
appointment for Cindy under Illinois workers compensation rule 8(a) with
the 1983/RICO person identified as Dr. Michael Watson, a specialist in
orthopedics located at 320 E Carpenter St Suite 1A Springfield, IL 62702,
where the following acts transpired allegedly in the late afternoon after work
on August 23, 2005 but all records were made to disappear, leaving only the
letter to Watson as evidence of what transpired in that;

(a) Cindy reported the circumstances of the workplace injury to her mid
thoracic back to Dr. Watson that occurred while cleaning the underside of a
table, with Glenn Hopkins present as a witness. see Complaint Evidence
Affidavit exhibit 7, page 39-46 as to a Letter to Watson.

(b) Cindy specifically told Dr. Watson that she was there about her mid-
thoracic back injury already prior diagnosed by two doctors as a workplace
injury, in which Cindy described the intense pain in her mid-back, and
described about how it was hard for her to breathe.

(c) Hopkins had pointed out to Dr. Watson, at that same place and time,
the baseball sized swollen area on Cindy’s back at approximately T-12, which
was to the left side of the spine at T-12 and three inches under the tip of the
left shoulder blade, and thus very obvious the injury was not in the neck!

(d) Hopkins and Cindy both stated to Dr. Watson as to how Dr. Bansal
refused to do an MRI of this area, despite the pain and hardship Cindy had in
breathing, Bansal claiming no reason to do an MRI because the swelling was
too great. Dr. Watson stated that swelling had no effect on an MRI, and
agreed it was medically necessary to do an MRI of this swollen area. Dr.

Watson stated that he had to contirm the WC claim with Lewis first.
[11]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, and was never contested or disputed betore
an arbitrator, see Complaint Evidence Affidavit exhibit 2, page 3-13 as to
paragraph 12, and thus admitted by acquiescence that:

Dr. Watson, after contacting Lewis, then reported to Cindy by telephone

on August 24, 2005, the work comp claim was lawfully denied based on Lewis
representations, and then committed fraud that injured her, alleged as
follows:

(A)

Christian Homes Inc is self insured, and the 1983/RICO person of Timothy
Phillippe as CEO oversees and operates the enterprise identified as Cochran
Management Services inc. aka CCSMI to administer this self insurance. The
1983/RICO persons identified as Amy Zayer and Paula Ryan of CCSMI did:

(1) First choose to approve of Cindy’s claim, see Complaint Evidence
Affidavit exhibit 8, page 47 for which she was treated by Dr. Bansal, and as
the facts show, had two doctors confirm that the injury was a workplace
injury, and;

(2) When allegedly apparent the injury was a disabling Neuromuscular
skeletal disorder and Cindy had sought her own doctor, CCSMI agents Amy
Zayer and Paula Ryan denied the claim and insurance coverage shown by
striking out the prior approval, Complaint Evidence Affidavit exhibit 8, page
47 for:

(a) no stated reason,

(b) without notice to Cindy, barring her from Medicare and Medicaid
without cause or right,

(c) without sending Cindy to an IME, and

(d) without an IME report and;

(e) Amy Zayer stated Cindy’s workers comp claim was lawfully denied by

phone message to Dr. Watson, logged and recorded, Complaint Evidence

10
Affidavit exhibit 8, page 48-50, known to be unlawful when there had been no
notice to Cindy or IME basis for the denial.

(B)

Doctor Watson had examined Cindy on August 23. This record has been
made to disappear. It is admitted by acquiesce that Doctor Watson made a
statement of his conducting a medical exam on August 24 however, and
referred a copy to CCSMI, see Complaint Evidence Affidavit exhibit 2, page
3°14. This statement was a fraudulent medical record of an exam for the 24th,
that replaced the actual exam of the 23" From this fictitious exam Watson
had an MRI done at Cindy’s cost, but the MAJ was of Cindy Hopkins Cervical
spine, and not of her midthoracic spine, when the MRI of her thoracic spine

was medically necessary,. This was falsification of records in that:

 

(1) Dr. Watson stated in his “report” that Cindy’s “chief complaint of pain”
was in her arm and neck, which cannot possibly be true when Dr. Watson
should not have known of Cindy’s prior neck injury from 1985, while at the
same time Watson was omitting everything Cindy had reported! Cindy had
not raised any neck or arm injury claim to Dr. Watson, yet the patient intake
form was modified by someone fo include the attachment points of the left
shoulder and neck, which Is obvious records tampering.

(2) This knowledge that Watson displayed of the prior neck injury required
being informed by an attorney with connections to the Workers compensation
commission in order to find these long closed cases, and obtain the
information from the prior injury records, evidence of ex parte contact
resulting in the fraudulent medical records.

(3)

Dr. Watson in his suborned report, which is an alleged mail fraud, omitted
all reference to the fist stzed swelling in Cindy's mid- back, omitted all
reference to her ditficultly in breathing, and omitted all reference that Dr
Watson had examined the swollen area, and omitted that he had said a

midthoracic MRI should be done to find out why Cindy had a difficulty in

11
breathing. His exam report omits his statement of the claim having to be

approved by Lewis! Watson claims a neck injury as a primary complaint with

tingling all the way to her fingertips, which is based on information not

provided by Cindy or consistent with her filed workers compensation claim!
[12]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, and was never contested or disputed before
an arbitrator, see Complamt Evidence Affidavit exhibit 2, page 3-14 as to
paragraph 14, thus admitted by acquiescence that:

Dr. Watson then referred Cindy to the 1983/RICO person identified as Dr.

Edward Trudaue, who refused to allow Glenn Hopkins to be present at any
time in his interview and examination of Cindy. Dr. Edward Trudaue
concealed the neuromuscular skeletal disorder as he;

(a) stated in his report of the patient interview that Cindy’s work comp
injury claim concerned “an arm injury’.

(b) has omitted any reference to Cindy Hopkins intense mid-back pain,
and her difficulty in breathing.

(c) stated in his report that he could find no evidence of Cindy having
sustained a workplace injury to her arm.

(d) has omitted any reference to Cindy Hopkins intense mid-back pain,
and her difficulty in breathing which was fraud by omission.

(e) stated in his report that he could find no evidence of Cindy having
sustained a workplace injury to her arm, which is fraud due to the
known prior injury to the left shoulder and no arm injury claim in
Cindy’s actual filed workers compensation claim. ‘

[13]

That tor reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26 was never contested or disputed before an
arbitrator, see Complaint Evidence Affidavit exhibit 2, page 3-14 as to
paragraph 13 that:

12
Dr. Watson stated that he could find no evidence of any injury supporting
Cindy’s work comp claim to her neck and arm, known to be contrary to Cindy
Hopkins actual workers compensation claim, and fraudulently omitting that
her injury for which she sought diagnostic treatment was a midthoracic back
injury and difficulty in breathing, which was fraud by omission. /t is
admitted this difficulty was later confirmed as caused by a diaphragmatic
rupture and hernia of 1/3 rd of her stomach into her chest cavity, thus the
omission concealed the actual injury contributing to her death. There was
allegedly no legitimate way he could have known of the prior 1985 injury to
the neck, and the shoulder injury had been dropped from the case before
August 23, 2005 thus not in question. His reports and letter in response was
alleged Mail fraud as they were mailed to Cindy and CCSMI.

[14]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, and was never contested or disputed before
an arbitrator, see Complaint Evidence Affidavit exhibit 2, page 3-14 as to
paragraph 14, and admitted by acquiescence that:

The 1983/RICO persons identified as Timothy Phillippe, as CEO of the

enterprise identified as Christian Homes that operates Lewis, by agents of
Christian Homes, and the 1983/RICO persons of the enterprise identified as
the Law firm of Thomas, Mamer, and Haughey, under direction of the
1983/RICO person of senior partner Bruce Warren, for no reason other than a
practice to prevent payment of benefits for unjust enrichment, denied Cindy's
workplace injury claim without written notice to her of the denial, without an
IME, and did so despite the fact two doctors had prior confirmed this
workplace injury, in that:

{1 Dr Bansal submitted medical bills to CSMI in August, which were
denied payment by mail based on grounds the work comp claim was lawfully
denied under workers compensation law, when it was known that it could

not have been, as there had been no notice or an IME,
{2.3 Dr. Watson had been informed by phone by Lewis on August 24, 2005
that the work comp claim was lawfully denied, which was prior to his exam
in September, thus his fraudulent exam could not be an IME.

{3.3 That after Warren entered his appearance in the case, thus in control,
there was a meeting on October 10, 2005, which was reported to Hopkins by
Cindy and later Cindy’s sworn charge to the EEOC:

-a- In that meeting, see Complaint Evidence Affidavit exhibit 2, page 3-14
Cindy reported to the EEOC that the Lewis agents identified as the
1983/RICO persons D.D. Wagner, Lisa Langley, and Laurie Hill, questioned
Cindy about why she was refusing to accept the recommended
Hydrocortisone treatment by their chosen doctor, Dr. Bansal.

-b- They also allegedly discussed how Doctor Watson’s “report” did not
support Cindy’s work comp claim.

-c- Cindy asked who had instructed Dr. Watson not to perform the
requested MRI of Cindy’s mid back, which the agents then refused to answer.

{4.} In a letter issued October 12, Lewis agent Laurie Hill stated Lewis
would no longer accommodate her impairments from her injury and gave
Cindy involuntary leave of absence without compensation under color of
family leave, and terminated Cindy without an IME.

{5} Lewis then attempted to deny unemployment, see Complaint Evidence
Affidavit exhibit 8, page 51 by claiming Cindy could not work due to a non-
work related injury, of which (1) there is no record of a non work related
injury, (2) with two doctors reports showing a workplace injury, and (3) no
IME finding on the reported injury not being work related.

[15]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, and was never contested or disputed before
an arbitrator, see Complaint Evidence Affidavit exhibit 2, page 3-14 as to,
paragraph 15, and thus admitted by acquiescence that:

14
Due to denial of the workplace injury claim without Notice to Cindy, and
wrongful termination from employment, Cindy was deliberately and
knowingly:

-1- Denied access to insured medical care and

-2- Denied access to Medicare and Medicaid for reason of lack of written
notice and:

-3- Required Cindy to find what medical care she could obtain for her
neuromuscular skeletal disorder as an indigent pauper which injured her in
that:

(1) Cindy Hopkins being fully disabled by her work place injury, had to
pay her own cost to obtain medical care without the means to do so as she
could not work, or receive public aid for lack of notice, and was receiving only
minimal paupers care insufficient to stop the pain or to save her life,

(2) It is admitted that Capitol Community Health Care allegedly provides
only basic medical services to low income unemployed people who do not have
Insurance in Springfield Illinois. Cindy's personal care doctor identified as
Dr. Edgard Cumpa ordered an MRI of Cindy’s mid thorax out of medical
necessity in November of 2005 _to determine why Cindy had swelling and
breathing trouble due to the mid back injury from the workplace injury.

(3) Examination of the MRI of Cindy’s mid-thorax “discovered” the 11 cm
rupture of the diaphragm, and the large hernia endangering her life. see
Complaint Evidence Affidavit exhibit 4, page 28.

(4) Capitol community could not arrange for specialist care in orthopedics
for diagnostic and treatment of her neuromuscular skeletal disorder, as no
alleged specialist was available who would examine Cindy’s injury without
prior payment of $3.000.00 since it was not a medical necessity to preserve
lite to treat this disorder, and for reason that Cindy was denied insurance

coverage under work comp, and denied Medicare/Medicaid for reason of lack

 

of written notice. A request for written notice so as to obtain MEDICARE

was ignored, see Complaint Evidence Affidavit exhibit 10, page 53.

15
[16]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied thus admitted in all proceedings and
under FRCP 26, and was never contested before an arbitrator, see Complaint
Evidence Affidavit exhibit 2, page 8-14 as to paragraph 16, it 1s thus
admitted by acquiescence that:

William Shaffer was Cindy’s Attorney until compromised by the

conspiracy to commit fraud that made him a material witness, depriving
Cindy of Counsel. Hopkins is not licensed to practice law.
[17]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied thus admitted in all proceedings and
under FRCP 26, and was never contested before an arbitrator, see Complaint
Evidence Affidavit exhibit 2, page 3-14 as to paragraph 16,

The case was submitted to Todd Strong. The November MRI discovery of

the ruptured diaphragm that had resulted in a hernia and was part of
Cindy’s mid back neuromuscular skeletal disorder, was raised to Bruce
Warren under a 19B1 Petition by Todd Strong. In response, Warren claimed
in official records that Cindy’s work comp claim was “an injury to her arm
and neck”, which was an obvious fraud by simple comparison to the
adjustment of claim! Todd Strong then resigned because the claim of
Christian Homes and Warren in defense of the 19(b), was supported by the
fraudulent medical records of the person identified as Dr. Watson, making
the cost of prosecuting the claim impossible for Cindy. Notice of this fraud
was disclosed to the 1983/RICO enterprise identified as the Illinois
Department of Insurance regulation which twice refused to take action, see
Complaint Evidence Affidavit exhibit 14, page 58.

This was irremediable due to alleged defects of law in that:

(a) To overcome this medical records fraud by respondent in workers comp
under rule 19 in December of 2005, required experts that were not available
due to an indigence that was caused by wrongful termination, denial of
insurance coverage, and denial of Medicare/Medicaid for lack of notice,

despite a request for notice giving reason why the claim was denied.

16
(b) After Todd strong resigned, Patty Hayes took the case, only to be
disbarred, after which No other attorney would dare take the case pre or post
mortem! This was due to alleged public knowledge of corruption of the
workers compensation arbitrators and commission, with the enterprise Law
firm of Thomas, Mamer, and Haughey openly bragging on the net of self
insured employers not having to pay TTD, and of their close_working
relations with arbitrators, commissioners, state _and Federal Judges see
Complaint Evidence Affidavit exhibit 11, page 54-55.

(c) To overcome this fraud in workers comp under 19B allegedly required
experts that were not available due to indigence from denial of Medicare and
Medicaid for reason of lack of notice.

[18]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, and was never contested or disputed before
an arbitrator, see Complaint Evidence Affidavit exhibit 2, page 3-14 as to
paragraphs 17 to 18, it is admitted by acquiescence that:

The first surgery by Dr Hazelrigg to repair the ruptured diaphragm from

the reported workplace injury was March 7 of 2006, followed by a motor
vehicle accident on April 16 of 2006 that admittedly undid the surgery and
thus contributed to her death.

(1) This motor vehicle accident occurred before the original workplace
injury surgery could heal, and while severe as it totaled the vehicle, would
not have ruptured the surgery repair on Cindy’s ruptured diaphragm, if the
surgery had been timely performed in August or September of 2005. and:

(2) The motor vehicle accident would not have created the following chain
of inevitable deadly circumstances in that:

(A,)
But for the alleged lack of timely proper treatment and surgery due to

denial of the claim without notice and without a doctor’s exam:

17
(1) Cindy plausibly would not have been subjected to reinjury of her
diaphragm in the motor vehicle accident as the surgery would have been done
timely and thus would have healed prior to the accident, and

(2) Hopkins would not have been forced to helplessly watch as Cindy
suffered a lingering and painful death due to a reinjury that could not be
diagnosed and treated timely due to deprivation of insured medical care.

(3) Cindy and Glenn would not have had to wait for two more years of
agonizing pain before the second rupture injury was discovered by Dr.
Torgenson, see Complaint Evidence Affidavit exhibit 2, page 3-14 and

(4) Cindy would not have admittedly suffered a binary post surgical
infection in the second surgery required to repair the second rupture of her
diaphragm from her workplace injury as a result of the car accident before it
healed, see Complaint Evidence Affidavit exhibit 2, page 3-14. There was a
long delay that had allegedly weakened her body to where she could not
survive the latent poisoning of her liver by antibiotics and sepsis in that:

(B.)

This binary infection from the second surgery allegedly became septic
when Cindy was prematurely discharged by the 1983/RICO enterprise St.
Johns Hospital for reason of no work-comp insurance or Medicare, and this
allegedly triggered an autoimmune response known to cause organ failure
that contributed to the fatal injury of Cindy Hopkins liver, and:

(C.)

That it is admitted by acquiescence that no checks for impaired liver
function from the symptoms reported, that allegedly show there may have
been moderate sepsis, and no checks were made for impaired liver function
known to occur in some cases trom the use of Levoquinn, Ciprofloxin and
Vancomycin that had been necessary to treat the binary infection by St.
Johns, the vital test was canceled for no reason other than no coverage by
work comp insurance, Medicaid or Medicare resulting in undetected liver

failure for reason of:

18
[19]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, and was never contested or disputed before
an arbitrator see Complaint Evidence Affidavit exhibit 2, page 3-14 as to
paragraph 18,

That it is admitted that St. Johns (1) did not give notice to Cindy’s

physician of the use of these dangerous antibiotics, and (2) failed to inform of

the known attendant risk of liver failure from these antibiotics, and (3)

subsequent organ failure occurred from liver poisoning due to the antibiotics.
[20]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, and was never contested or disputed before
an arbitrator, see Complaint Evidence Affidavit exhibit 2, page 3-14 as to
paragraph 19 and thus admitted by acquiescence:

that the cause of death for Cindy Hopkins was liver failure 12 months

after Surgery which is admitted as consistent with Sepsis, Levoquinn and
Ciprofloxin poisoning of the Liver and applicable to this case in that it is
admitted and not disputed that:

-1- The Coroner found “Fatty Changes to the Liver’.

-2- Cindy Hopkins did not drink except for special occasions. In cases
where the patient does not drink alcohol regularly, this “Fatty Changes to the
Liver” is a known symptom of Steatohepatitis, a NASH based autoimmune
hepatitis form of cirrhosis known to be caused by Ciprofloxin, Vancomycin,
and by moderate to severe Sepsis. Qualified doctors can testify to the
authenticity of this. The records show from the autopsy! in Cindy’s case that;

(a.) No evidence exists of a genetic disorder to cause “liver failure”. For the
record, Cindy has an identical twin, who has no symptoms of “liver failure”.

(b.) No known toxic chemical exposure, other than the exposure of the
patient to Levoquinn, Ciprofloxin and Vancomycin, all known to cause liver

failure.

 

' There is a question of admissibility of coroner’s reports.

19
(c.) There were no signs of any currant nonsocomial infection to indicate
currant sepsis at time of death.

(d) Cindy Hopkins had a known thyroid disorder that was being treated
with synthroid, as does her alleged twin. Cindy was allegedly treated with
dangerous antibiotics identified as Levoquinn, Ciprofloxin, and Vancomycin,
allegedly known to the medical profession world wide to cause liver failures
within 12 months of use, with increased hazard to those on Synthroid. This
use of these antibiotics was indisputably justifiable and necessary to save her
life from the post op binary infection. However post use conduct was not
Justified in that;

(e). Cindy was discharged by St. Johns for reason of no work comp
insurance or Medicare/Medicaid from the denial of the workers compensation
claim without notice, discharged before the binary infections were gone, and
the tests for alleged liver porsoning were cancelled. There was no follow-up
blood tests for screening for impaired liver function.

(f) Cindy was on oxygen for nearly two months at home, and suffering
fevers from the postoperative infection. Cindy had no access to other doctors
about this post op illness. Cindy admittedly died from liver failure caused by
post surgical complications in the second surgery to repair the workplace
injury that was required when the first surgery to repair was undone by the
intervening car accident before it could heal.

Post Mortem
[21]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, and was never contested or disputed before
an arbitrator, see Complaint Evidence Affidavit exhibit 3, page 3-14 as to
paragraph 20, it is admitted by acquiescence that:

After Cindy’s premature death from liver failure, that the RICO enterprise

identified as St. Johns due to an unknown RICO person or persons, who after

denying a request for a directed autopsy, agreed to do a full frontal view MRI

20
which would allow a qualified forensic doctor to determine if the
diaphragmatic rupture was causally related to the reported workplace injury
to the midthoracic back that resulted in a disabling neuromuscular skeletal
disorder. St John’s 19838/RICO agents then assured Glenn Hopkins by
telephone that this MRI had been done when they released the body for
cremation. see Complaint Evidence Affidavit exhibit 12, page 56/57. Hopkins
relied upon this statement by phone by St. Johns that claimed the MRI was
done, and had Cindy cremated due to the denial of funeral and death
benefits by Lewis. Hopkins lJater discovered this MRI was never done atter
the body was cremated, when he tried to get the report. The St John agents
then stated that because Cindy’s workers comp was denied, the exam was not
done. Hopkins then demanded to know why he was told it had been done by
telephone, when it actually was not done, as otherwise Hopkins would never
have had her body cremated, but Hopkins was then escorted off the premises
by security.
[22]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted that Hopkins
is a disabled person on a fixed income, see Complaint Evidence Affidavit
exhibit 1, page 2, and blocked by state action from preparing and proving the
case and state action 1n the case in that:

Hopkins was denied accommodation throughout all the proceedings from

September 2010 until May 13, 2014, in violation of Title II of the ADA
starting with Tobin, as a disabled poor person by the intentional denying of
transcripts despite repeated requests in known violation of rule 20. This
prejudiced the prosecution of the action in that:

-1-

[a]

Beginning in September 2010, several motions were before the commission

proceedings so as to enforce discovery subpoenas. The facts in the first Bill of

21
Particulars were never disputed. The withheld transcript of the September
7th 2010 hearing shows that Hopkins case was obstructed in that:

(1). That it was admitted in all proceedings and under FRCP 26, and was
never contested or disputed before an arbitrator, Complaint Evidence
Affidavit exhibit 2, page 3-14 that Respondents have never filed anything in
opposition. Bruce Warren admittedly verbally stated to Tobin on September
7, 2010 that Hopkins was using the subpoena to “obtain medial records”.

(2) It is admitted Hopkins pointed out in rebuttal that Cindy’s Work comp
claim and access to medical care for her reported injury, was denied for
undisclosed reasons by undisclosed persons at Lewis. Hopkins further
pointed out that someone at Lewis had interfered with Cindy’s medical care,
and then terminated her for being unable to work due to her injury. Hopkins
told Tobin that he sought by subpoena the identity of the persons who made
this decision, and proof that the written denial, which would have required a
doctor’s examination, was a report that did not exist! Hopkins stated that he
knew this report did not exist as Hopkins had all the reports of every doctor
Cindy had ever seen in this cause.

(3) It is admitted Warren then stated to Tobin that Cindy Hopkins work
comp injury was “disputed, and had been denied lawfully and though it was
unfortunate Cindy died, 1t was not Lewis fault.”

{3-1} It is admitted that Hopkins asked Warren “Based on what?”

{3-2} It is admitted that Tobin then asked Warren to produce the Form 12
report .

{3-3} It is admitted that Warren proceeded to another room to search his
case files for this alleged report that was known did not exist.

{3-4} It is admitted that Warren then submitted a withdrawal of the claim,
stating that he was only doing so because he lacked the record on hand.

(b)

It is admitted that Tobin ordered Warren to turn over all documents

concerning Cindy's employment, the form 12 doctors report as to the denial of

22
her claim, denial of access to care, and termination. Warren was also ordered
to disclose the records of what he had given to Hopkins attorneys, and copies
of all the employee files. That disclosure has never happened.

-2-

That it was admitted in all proceedings and under FRCP 26, and was
never contested or disputed before an arbitrator, see Complaint Evidence
Affidavit exhibit 2, page 3-14 as to paragraphs 21 to 22, that:

In subsequent proceedings on November 1, 2010, Hopkins submitted a

demand for payment of the $10.000.00 death benefit, funeral benefits of
$8.000, and a sanctions motion due to the Lewis Counsel Warren’s refusal to
comply with the subpoena: it was alleged that Warren turned over blank
paper instead of actual records, refused to turn over employment records
proving the admitted aggravated battery, and refusal to identify the parties
at Christian Homes who denied the workers compensation claim. Hopkins
was pointing out to Tobin that the case was a wrongful death tort based on a
conspiracy to commit work comp fraud resulting in death under 4(d);

(1) There is no transcript, thus impossible to prove, though it is admitted,
that Tobin ignored the fraud committed by Warrens misleading claim in a
letter that Cindy had refused to see a doctor of Lewis choice, when this
sending of Cindy to an IME had never transpired, and Cindy was seeing the
only doctor of Lewis choice, Dr. Bansal. This was false when Warren was
stating “that is why there is no form 10 report’, see Complaint Evidence
Affidavit exhibit 2, page 3-14.

(2) Tobin, despite having been shown that the work comp injury claim and
all medical care was denied by self insured Lewis in violation of rule 4(c) and
(d) with proactive assistance of counsel, refused to consider that this denial of
the claim without a Doctors exam and report was “a fraud” despite that rule
4(c), (a), (h), and 8.7() stated this conduct as unlawful.

(a) Tobin stated that he believed that there was no conspiracy, naively

stating no attorney would commit fraud as alleged by Hopkins.
(b) Tobin dismissed the claim that the records had been withheld,
naively claiming that no attorney would lie to him about this.

(c) Tobin then refused to order Lewis to pay for the specialist doctors
knowing that:

{1} Tobin knew he could not deny access to doctors without an IME report,
and knew no such IME report existed. It was medically Necessary to
forensically examine Cindy’s records to determine whether the reported
injury was a workplace injury, whether the injury permanently disabled her,
and whether the unlawful denial of access to proper care resulted in her
death. 19(c) uses the states special funds to cover these costs,

{2} Tobin further said it was Hopkins obligation to obtain access to these
doctors at his own expense when both 8(a) and 19(c) both mandate Tobin
could not deny review of medical records without an IME.

{3} Tobin refused to order payment of the death benefit, see Complaint
Evidence Affidavit exhibit 2, page 3-14, stating it was a life insurance policy
that had to be enforced in state court, when known as a job benefit that could
only be awarded 1n workers comp. Funeral benefits would only be paid once
Hopkins had proven the workplace injury caused the death, even though
Christian Homes admitted and did not contest this fact, thus requiring
forensic review that was being denied without an IME report.

{4} That the fraud division, informed by email of Tobin’s conduct that was
obstructing the case, forwarded that email to Tobin. Tobin recused himself,
claiming Hopkins was “threatening him with federal court action”.

[23]

That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, and was never contested or disputed before
an arbitrator, see Complaint Evidence Affidavit exhibit 2, page 3-14 as to
paragraphs 22 to 28, that:

Tobin recused himself on or about December 6, 2010, and the case was set

before a new arbitrator, the 1983/RICO person Neva Neil, with the hearings

im Decatur Illinois. The matter was set for a call hearing before Neil on

24
February 28, 2011. Hopkins borrowed motor vehicle was then sabotaged the
night before the hearing, by persons unknown placing a bolt into the cooling
fan destroying the transmission from overheating while on his way to the
hearing, preventing his making an appearance at the hearing call. Neil now
deceased, was allegedly bribed as she dismissed this 2010 case for being over
the redline in 2011 when the redline would not have arisen until 2013! Notice
of this obviously fraudulent dismissal was received March 26, 2011 and took
four months to compel reinstatement.
[24]

That it is admitted by acquiescence, see Complaint Evidence Affidavit
exhibit 17, page 146/160. that the 1983/RICO person identified as Barbara
Collins, as attorney for the 1983/RICO enterprise identified as COUNTRY
Financial as parent, and COUNTRY Mutual Insurance Company a
subsidiary, (Herein after identified as Country) located at 1701 Towanda
Ave., P.O. Box 2100, Bloomington, McLean County, Illinois, obstructed
justice in the MVA case, and this case while pending by:

(1) Withholding documents from Hopkins relevant to the severity of the
accident which was an issue material to the WC action and the MVA,

(2) Tampering with the deposition to remove all references to the workers
compensation action, and of her denial of access to records,

(2) Christian Homes admitted Counsel for Country had disclosed the
documents concerning the MVA. Counsel for Country was Collins. A Criss
Cross conspiracy allegedly arose by Collins enabling Christian Homes to use
the evidence of the accident provided by Collins to claim the car accident
caused death, thus furthering the ends of the criminal objective.

(3) Collins knew the denial of access to doctors in WC made it possible to
defeat the wrongful death claim and failure to settle bad faith tort in the
MVA case for reason of lack of evidence, and;

(4) Collins committed felony records tampering by fraudulent filing of

records in that:

25
-1- Collins requested of Hopkins, as administrator of the estate handling
the workers compensation case, a request to admit concerning the issues of
Cindy’s death, and a request for medical review, and provided an envelope so
Hopkins could mail the documents back.

-2- Hopkins responded directly making a response to request to admit and
denial of access to Dr. Hazelrigg for cause in that same envelope provided by
Collins. Collins received the documents identified as Plaintiffs response to
request to admit and Plaintiffs denial of authorization on April 4, 2013.

-3- Collins allegedly filed these documents in the court record along with a
forged certificate of service in the Court record and the record shows Hopkins
filed the documents which was felony records tampering by someone
unknown, Complaint Evidence Affidavit exhibit 19, pages 188/199.

-4- Collins moved for Sanctions claiming that Hopkins had filed the
documents in the record, had done so without signature of counsel, and had
not served her claiming she had only discovered the filing by routine check.

-5- Only Hopkins and Collins had possession of the documents on April 4,
2013. Hopkins does not live in Springfield and without a motor vehicle, and
had no means of filing the documents without an original signature on April
15, 2018. Hopkins contested this use of records turned over only to Collins
Complaint Evidence Affidavit exhibit 20, pages 189/190, but having been filed
in the Court record by someone without an original signature and could
result in criminal prosecution of Hopkins for records tampering.

-6- This records tampering by Collins would benefit her client and
principal Country, and further the ends of the conspiracy by Christian Homes
as a criminal conviction of Hopkins as to records tampering would terminate
both cases, and:

(5) That Collins either resigned or was terminated by Country for reason of
the records tampering, but Country never disavowed this conduct.

(6) Wrongful death has lability damages averaging $800.000, but Country
has refused to settle for the policy limit that would fairly cover the partial

26
Hability for wrongtul death that exists above the policy limit for reason of
Cindy’s death, and by appearance has adopted and in criss cross agreement
with Christian Homes attempting profit thereof from the prior conspiracy by:

-a- Exploiting the RICO based fraud that Country knew had obstructed
access to the medical review necessary to prove that the accident had undone
the surgery resulting in Cindy’s subsequent death, so as to avoid paying a
justified claim in the MVA case on grounds of “lack of evidence”.

-b- After Collins was terminated by Country, Country thereafter adopted
the prior conspiracy objective of Collins and Christian Homes by unjustified
refusal to settle a claim that would otherwise be above the policy limits while
knowing this refusal enables the original conspiracy to benefit.

-c- The objective was for the same reason that Christian Homes had done
so: Unjust enrichment by exploiting the spoliation caused by fraud, Hopkins
cannot obtain medical review to prove the workplace injury and lack of
proper medical care due to the fraud had killed her, thus enabling Country to
avoid paying for wrongful death knowing that if the policy was paid Hopkins
could obtain review to prove the conspiracy to commit fraud killed Cindy.

[25]
That for reason of filed Bills of particulars in workers compensation
proceedings that were never denied or contested, thus admitted in all
proceedings and under FRCP 26, and was never contested or disputed before

an arbitrator,:
It is admitted that on December 8, 2011, Hopkins brought before the

arbitrator identified as the 1983/RICO person Nancy Lindsay, ta known
former commissioner} a motion to depose the co defendants/witnesses of the
case, motion to order forensic review, and sanctions against Lewis et all for
obstruction of the case in the denial of benefits pre and post mortem. These
were parts of a pending October 19(b) petition with a second bill of

particulars that Respondent did not at any time contest.

27
-1-

(a) There is no transcript provided as this was denied, thus impossible to
prove, though it is admitted, that Lindsay in concert with the 1983/RICO
person identified as Eric Chovanec denied deposing defendants and witnesses
on grounds they could testify in the pretrial 19b hearing and be subject to
cross examination.

(b) There is no transcript provided as this was denied, thus impossible to
prove, though it is admitted that Lindsay was informed that Cindy’s claim
had been twice confirmed as a workplace injury but denied without notice
and without an IME, in known violation of rules 4(c), 4(d), 4(h), and 8.74),
and that Dr Watson had falsified records!

(c) There is no transcript provided as this was denied, thus impossible to
prove, though it is admitted that Lindsay denied forensic review on grounds
Cindy was dead, thus review was to be at Hopkins expense but did so
knowing this review was intended under 8(a) and 19(c), which uses special

funds to cover these costs, and could not be denied by any arbitrator without

 

an IME report, which in this case did not exist.

(d) There is no transcript provided as this was denied, thus impossible to
prove though it is admitted that Lindsay allegedly shifted the motion for
sanctions to be heard on January 12, 2012.

-2-

That 1t was admitted in all subsequent proceedings and under FRCP 26,
and was never contested or disputed before an arbitrator, admitted by
acquiescence on Motion to Vacate, Appendix A, that:

On January 12, 2012, Nancy Lindsay in alleged collaboration with Eric

Chovanec, admittedly conducted a pretext 19b hearing with intent to commit
fraud upon the court and obstruct justice in this case in that:

(a) There is no transcript as this was withheld, thus impossible to prove,
though it is admitted that Chovanec has never filed any claim refuting or

denying any contention or claim of Hopkins, thus the claims were not

28
equitably disputed. They had to taken as true under rule 19 and equitable
estoppels by acquiescence.

(b) There is no transcript provided as this was denied thus impossible to
prove though it is admitted that Chovanec withheld all witnesses and co
defendants and prevented their testimony in the proceedings.

(c) There is no transcript provided as this was denied thus impossible to
prove, though it is admitted that Lindsay allowed the withholding of
witnesses and co defendants and proceeded to pre trial in the known absence
of any person or persons on behalf of Christian Homes Inc.

-3-

Nancy Lindsay admitted by acquiescence on Motion to Vacate, Appendix A,
that she did make the following judgments under 19(b) in that:

(A)
Lindsay stated in her fraudulent order that Hopkins had not proven Cindy

Hopkins workers compensation claim was denied, a known fraud in that:

1. There is no transcript provided, as this was denied, thus impossible to
prove, though it is admitted that Evidence turned over by respondents in
discovery, never contested, was ruled admissible by Lindsay, thus she knew
of the evidence, and this evidence was presented in the Presentation brief,
thus the evidence of admitted denial of the claim was known to Lindsay. This
evidence shows indisputably that the claim was admittedly denied and that
Nancy Lindsay knew this was admitted fact.

2. There is no transcript provided as this was denied, thus impossible to
prove, though it is admitted that Respondent admitted in a letter presented
in the Presentation brief, thus before and known to Lindsay at time of
hearing, that the claim had been indisputably been denied and that notice of
denial had not been given Cindy. Nancy Lindsay knew this was admitted
fact!.

3. That with the indisputable admissions by respondents in writing, which

could not be challenged as it was not disputed by respondent that the claim

29
had_been denied, it becomes a stipulated fact. Hopkins had no burden to
prove the claim was denied as 1t was admitted, and this fact the claim was
denied, had to be taken as true under both rule 19 and equitable estoppels!

4. There is no transcript provided as this was denied, thus impossible to
prove, though it is admitted that Lindsay deliberately claimed Hopkins had
not proved the claim had been denied even though it was plainly admitted, a
fraud upon the court voiding her judgment, while at the same time
abrogating the statute 19(k) with alleged intent to avoid applying 19(K)
penalties against Respondent, which defrauded Hopkins as a disabled
beneficiary of $24.500.

(B)

That Lindsay under color of law as an arbitrator of the Illinois workers
compensation commission deliberately sua sponte used a_ presurgical
consultation report of a thoracic surgeon made prior to the first surgery to
repair the hernia, as grounds to curtail TTD at 16 weeks, rather than the full
208 weeks, knowing that the letter from the surgeon to Dr. Cumpa was not
an IME report under rule 12, without an orthopedic examination performed,
thus she defrauded Hopkins in violation of state and federal mail fraud
statutes, and unjustly enriched Christian Homes of $46.000.00.

(C)

That it is admitted by acquiescence that Lindsay fraudulently stated that
Hopkins had not raised the issue of sanctions and thus no sanctions would be
awarded, which is alleged as fraud upon the court and obstruction of justice
that unjustly enriched a criminal enterprise in that:

1. There is no transcript, thus impossible to prove, though it is admitted
that Lindsay had been presented the Motion for sanctions filed with the
commission on December 8, 2011, and rescheduled the hearing of the motion
for sanctions for January 12, 2012.

2. Lindsay had the obligation to retain in her control the document

identified as Motion for sanctions, but apparently disposed of the document
without notice to Hopkins of her action, preventing evidence of the raising of
the issue of sanctions.

3. That it is admitted by acquiescence Lindsay omitted in her finding that
the presentation brief did in fact raise the issue of sanctions thus the issue
was raised and addressed, but has been deliberately omitted in her order.

4. That Lindsay had falsified her order about the issue of sanctions then
published this false order, thus mail fraud, and avoiding applying justified
19(K) penalties against Respondent to defraud Hopkins.

(D)

Lindsay stated that Dr. Watson had not found any basis for Cindy Hopkins
neck and arm injury claim, thus nothing was to be awarded as to these
claims which was an alleged overt act of fraud in using a known fraud to
commit fraud in that:

(1) Cindy Hopkins workers compensation injury claim was to her
midthoracic back, with aggravation of a prior left shoulder injury. There was
no neck injury claim in the action!

(2) Hopkins had presented a claim and evidence based on a second Bill of
particulars filed with the commission and before the arbitrator that showed
Dr. Watson was a co conspirator in the conspiracy to commit workers
compensation fraud and had fabricated fraudulent medical records in alleged
furtherance of a conspiracy- a claim which was never disputed thus admitted
under equitable estoppels, and;

(3) That in the manufacture of the fraudulent record Dr. Watson had acted
upon information he should never have had knowledge of, and use of ex parte
communication is well known to be prohibited!

(4) That it is admitted by acquiescence that the issue of the neck and arm
injury claim of Dr, Watson was raised as an issue of fraud in the second Bill
of particulars, and (a) was not raised in the adjustment of claim as a claim,
(b) was not raised as a claim by Hopkins in the Petition under 19(b)(1), and

(c) nor had Respondents raised this claim as a defense, thus it was only
before Lindsay as evidence of fraud and of the conspiracy, and she knew it to
be a fraud.

(5). That due to Lindsay’s actions, Hopkins could not proceed further to a
meaningful case outcome, thus Lindsay was knowingly defrauding the estate
of $1.700.000.

[26]
Hopkins made an interlocutory appeal of the corrupted pretrial 19(b)(1)

proceeding based on serious errors of the arbitrator to the commission,
requesting a transcript for purpose of appeal and subsequent proceedings.

(1) While the official transcript was tendered for approval and signing, no
actual transcript was supplied by the commission for retention in records.

(2) An Amended appellants brief for the interlocutory appeal, was filed
within the time limits and before the commission with Hopkins brief clearly
establishing the errors as grievous errors compromising the case.

(3) That a review hearing was held October 25, 2012, before the 1983/RICO
persons identified as Mario Basurto, and two unidentified commission
members, in which all the errors covered by the Appellants brief were
presented, but no transcript of the hearing was provided to Hopkins despite
request.

(4) That the commission allegedly ruled on October 29 to affirm the
judgment of the 19(b) hearing without service of notice to Hopkins, thus
denying access to circuit court review.

(5) That due to lack of service, Hopkins did not know of the judgment, nor
able to timely appeal the judgment to the circuit court.

(6) Hopkins did not learn of the judgment until long after time to appeal
had expired, and to date, has yet to be served that order of the commission by
the commission. Nancy Lindsay admitted to this by acquiescence on Motion

to Vacate, Appendix A.
[27]

That Hopkins filed a Motion to vacate that Nancy Lindsay admitted by
acquiescence was resulting in fraud upon the court, felony fraud in the
deprivation of benefits, and obstruction of justice with the commission, which
was set for hearing October 12, 2013.

(1) That Lindsay refused to allow the motion to be heard on pretext
grounds Motions to vacate do not exist in workers compensation.

(2) According to the transcript provided by Christian Homes, Exhibit of
transcript is in appendix A, Hopkins pointed out that Motions to vacate do
exist under the administrative code that regulates arbitration in []linois, and
cited case law supporting the concept that fraud upon the court, felony fraud
by an arbitrator, and thus the obstruction of justice would be mandatory
grounds to vacate by any reasonable honest person!

(3) Lindsay tacitly admitted to committing felony fraud, fraud upon the
court and obstruction of justice, by stating that it did not matter as the
commission had affirmed her.

(4) Hopkins pointed out that the commission had committed fraud upon
the court in affirming her and denied due process by failing to serve notice of
the judgment so it could not be reviewed by any state court, and again,
Lindsay stated it does not matter as motions to vacate cannot be brought in
workers compensation.

(5) Hopkins pointed out that due to her judgment, She had not heard this
cause as a tort action. Hopkins reminded her that the case had been filed as a
tort under rule 4(d), and she admitted that she had not heard it as a tort.

(6) As she had admitted to obstruction of justice, and was obstructing
justice, Hopkins withdrew the motion to vacate as no point existed to proceed

further in the face of criminal conduct.

33
[28]
It is Public Record that Hopkins filed formal criminal charges 12/3/2013

with the Springfield Police department and FBI, giving notice to the
Sangamon County states attorney and Attorney General Madigan, against
the parties identified in the charges as Arbitrator Nancy Lindsay,
commissioner Mario Basurto, Lisa Langley, D.D. Wagner, Laurie Hill, Amy
Zaylor, Bruce Warren, Dr. Michael Watson, two unknown members of the
Illinois workers compensation commission, and unknown parties of Lewis
Memorial Christian Homes Inc. Copy of Criminal Charges, Appendix A.

(1) Due to misrepresentation by Lindsay, Hopkins mistakenly believed Dr.
Hazelrigg was participating in the RICO conspiracy to commit workers
compensation fraud, which after his deposition on May 15, 2014, was
determined to be false. The deposition proves Lindsay lied.

(2) That in follow up communication by telephone, the States attorney was
so far declining to file criminal charges and prosecute the named defendants.

(3) That follow up communication by telephone to the FBI disclosed that
while it was considered unconscionable, there was no intent to investigate
and prosecute.

[29]

It is admitted by acquiescence and public record that after Lindsay left the
case in ruins, Hopkins, has tried twice before two different arbitrators to
rectify and mitigate the impact of fraud upon the court in that:

-A-

(1)

That Hopkins filed with the commission in December 2013 a Post trial
motion for a ruling on evidence proving the tort set for setting a hearing date
in the January call, which on that date and time, there is no transcript
provided as this was denied, the arbitrator Pulia refused to set the motion for

hearing by declaring no action for tort can be brought under rule 4(d).

34
Hopkins filed motion for recusal to protect the arbitrator from further
compromising her integrity. Record of the motion to recuse appendix A

(2)

Hopkins served notices upon the 1983/RICO persons of the Governor,
Chairman of workers comp, and head of the Fraud division of Insurance
regulation, about the issue of fraud and the liability of the state officials from
the misconduct that was obstructing proceedings and furthering the ends of a
criminal enterprise in the commission of workers compensation fraud see
Complaint Evidence Affidavit exhibit 14 page 88. The 1983/RICO person
Supervisor William Blumthal of the Rico enterprise identified as the Illinois
Department of insurance responded by telephone claiming that:

-1- Even though no insured employer could deny claims without an IME
without penalty under rule 155 of the insurance code, Blumthal stated that
no crime was committed by Christian Homes as a self insured employer in
denying Cindy Hopkins claim without notice or an IME, even though subject
to 19k sanctions, claiming that self insured employers in compliance with
rule 4(a) and (b) are not subject to penalty under rule 4(c) for refusing to
provide insurance coverage for any reason, then saying “and while it was
unfortunate Cindy died, it was not unlawful.” Hopkins pointed out in writing
that this was a direct violation of the first amendment right to petition, And:

-2- That Blumthal also said it did not matter that when insured employers
who refuse to provide insurance coverage without notice or an IME are
subject to penalty under rule 155 of the Illinois Insurance Code and 19(k)
sanctions. Blumthal stated that the regulatory provisions of Rule 4 are only
to ensure compliance with the state requirements, not to regulate conduct of
self insured’s who are in compliance. Hopkins pointed out in writing this
enabled self insured’s who are in compliance to engage in conduct that
insured employers and self insured’s not in compliance are prohibited from
doing thus this interpretation of Rule 4 violates both the equal protection

clause of the 14th Amendment, and the special legislation clause.
-3- That despite notice, no action was taken either to prove it, disprove it,
or take corrective action by the Governor, Chairman, or Dept of Insurance.

-B-

(1)

That Hopkins filed two combined motions with the commission for
Forensic Review and for Restitution, and judicial Notice of the pending RICO
action, which were to be set for hearing at time of call in May of 2014.

(2)

That at time and place of call, May 13, 2014, before the 1983/RICO person
identified as Gallagher, there 1s no transcript provided as this was denied
thus it 1s impossible to prove that judicial notice of the pending RICO action
was presented and read, and Hopkins asked for the two motions to be set for
hearing at a later date after the arbitrator had time to review the issues,
which resulted in alleged obstruction in that:

(a) There is no transcript provided as this was denied thus impossible to
prove that Gallagher refused to set a hearing date and did so without a court
reporter present.

(b) Gallagher, despite the fact the motions were uncontested refused to set
the hearing for motion for forensic review, instead choosing a summery
consideration of the motion without review of the merits of the entire motion
and memoranda, see Complaint Evidence Affidavit exhibit 13, page 58/59,

(c) Gallagher was informed that Cindy Hopkins claim had been denied
without an IME due to a RICO based fraud, which denied her access to
proper medical resulting in her death. Forensic review was recognized by
Gallagher as necessary medical care to determine if Cindy Hopkins claim was
a compensable injury that resulted in her death, but Gallagher summarily
stated this was Hopkins obligation, as Gallagher refused to order the forensic
review without an IME at the states expense under 19(c).

(d) Gallagher refused to order forensic review at the self insured expense

under rule 8(a).

36
(e) Gallagher knew Hopkins was a victim of fraud upon the court, and
having the legal right to act pro-se, without a court reporter present, raised
the issue of Hopkins practicing law without a license taken as an implied
threat of criminal prosecution unless Hopkins dropped his claims.

(f) For reason of this attempt of intimidation by Gallagher for Hopkins
having raised facts showing criminal operation of workers compensation
proceedings with no reporter present, Hopkins gave verbal notice he was
taking the matter to federal court under RICO and 19838 and walked out on
Gallagher and Chovanec.

(g) That Gallagher gave the Motions Hopkins had filed before him, that he
had refused to set for hearing, to Attorney William Shaffer, who is not
counsel for Hopkins in this case, and the records of Workers comp do not
show the motions as having been filed.

(h) Hopkins gave the Commission Notice of suspension of proceedings and
of this cause pending.

Til
Cause for Relief
COUNT I

It is alleged based on the above facts that cause of action under 42-USC-

1983 arose from the specific Defendants identified As:

Christian Homes Inc, Timothy Phillippe CEO of Christian Homes Inc,
Lewis Memortal Christian Village, Cochran Management Services inc, the
Law_firm of Thomas, Mamer, and Haughey, Senior partner Bruce Warren,
the Illinois Workers Compensation Commission, Michael Latz, Chairman of
the Illinois Workers compensation commission, Lisa Langley, Dee Dee
Wagner, Laurie Hil], Paula Ryan, Amy Zaver, Doctor Michael Watson, Dr,
Trudeau, Nancv Lindsay, Mario Basurto, along with two _unidentified
workers compensation commission members, William Gallagher, Eric
Chovanec, Patrick Quinn, Governor of Illinois, the Illinois Department of
Insurance Regulation, Wiliam SBlumthal St Johns Hospital Country
Companies Insurance Company, Barbara Collins,

For reason of having by the coordinated combination of private businesses

by persons employed by these businesses, and those persons who are

37
associated with these businesses, engaged in what started as a conspiracy to
commit workers compensation fraud with intent to defeat a workers
compensation claim in violation of the RICO act that resulted in the
Homicide of Cindy Hopkins, then combined with State officials who
proceeded to conceal the homicide and combined with the enterprise
providing insurance coverage for the car accident that contributed to the
homicide adopting, thus aiding and abetting the workers compensation fraud
in violation of RICO/42-USC§1983 so that the enterprise did not have to pay
for contributory wrongful death. It is alleged that Criminal acts were
committed with intent to promote this conspiracy, obstructing the workers
compensation proceedings. All combined are defrauding Hopkins as part of a
conspiracy to violate civil rights for the purpose of enriching Country
Companies and Christian Homes Inc and caused damages of $1.700.000 in
that;

[1]

That it is herein realleged and incorporated herein by reference as if stated
in its entirety paragraphs {1} through {29} of the Statement of Case Facts, as
paragraphs {2} through {30} of Count I, as if fully stated herein.

[31].

That Cindy Hopkins entitlement to workers compensation was proven,
entitling her to the workplace benefit identified as a Death benefit of $10.000
dollars, and her death was circumstantially and plausibly caused by her
improperly treated work place injury, Hopkins is entitled to the Funeral
benefit of $8.000 dollars under the workers comp act, leaving a balance of
$18.000 unpaid.

[32]

That Cindy Hopkins was entitled to the workplace benefit identified as
Temporary Total Disability benefits, (TTD) of 208 weeks of unpaid TTD
amounting to $49.000 of which only 16 weeks has been paid, leaving a
balance of $46.000 unpaid.
[33]

That Cindy Hopkins was entitled to compensation that was unlawfully
denied entitling her to the workplace benefit identified as 19(k) sanctions of
50% of the total amount of unpaid TTD. This amount of unpaid 19(k)
penalties was $24.500.

[34]

That Cindy Hopkins was entitled to compensation that was denied
unlawfully for reason of a conspiracy to commit workers compensation fraud,
which entitles the estate to restitution of twice the amount of benefits
Christian Homes sought to deny, that when applied te the above items 1, 2,
and 3, amounts to $91.500 x2 under rule 25.5, leaving the unpaid benefits of
$183.000 .

[35]

That Cindy Hopkins entitlement to workers compensation was proven,
entitling her to the workplace benefit identified as a Death benefit of
$500.000 under the workers compensation act, which leaves this unpaid.

[36]

That Cindy Hopkins entitlement to workers compensation was proven,
entitling her to the workplace benefit identified as a Permanent Total
Disability for a lifetime payment calculated at 20 years of $235 per week
equaling $258.000, that is not paid.

[37]

That Cindy Hopkins entitlement to workers compensation was proven was
unlawfully denied for reason of a conspiracy to commit workers compensation
fraud, which entitles the estate to restitution of twice the amount of benefits
Christian Homes sought to deny that when applied to the above items 5 and
6, equals $758.500, when combined with the multiplier of rule 25.5, equals
$1.517.500.
That Cindy Hopkins entitlement to workers compensation was proven, and
the total unpaid balance due to this 1983/RICO conspiracy to commit workers
compensation fraud is of now $1. 700.000.00.

[39]

That the contributory wrongful death damages of $450.000 is for now
uncollectable for reason of this conspiracy.

Wherefore Judgment is demanded against each of the above named
defendants in excess of 1.7 million dollars under 42-USC-1988.

COUNT II

It is alleged based on the above facts that cause of action exists under the

RICO act against the specific Defendants identified herein,

Christian Homes Inc, Timothy Phillippe CEO of Christian Homes Inc,
Lewis Memorial Christian Village, Cochran Management Services inc, the
Law firm of Thomas, Mamer, and Haughey, Senior partner Bruce Warren,
the Illinois Workers Compensation Commission, Michael Latz, Chairman of
the Illinois Workers compensation commission, Lisa Langley, Dee Dee
Wagner, Laurie Hill, Paula Ryan, Amy Zayer, Doctor Michael Watson, Dr,
Trudeau, Nancy Lindsay, Mario Basurto, Two unidentified workers
compensation commission members, William Gallagher, Eric Chovanec, the
illinois Department of Insurance Regulation, William Blumthal, St Johns
Hospital, Country Companies Insurance Company, Barbara Collins,

In that they have by the unlawful coordinated combination of private

businesses with persons employed by these businesses and those associated
with these businesses, engaged in a conspiracy to commit workers
compensation fraud violating the first amendment to defeat a workers
compensation claim resulting in the Homicide of Cindy Hopkins, combined
with the enterprise providing insurance coverage for the car accident that
contributed to the homicide, post mortem abetting the workers compensation
fraud so that the enterprise did not have to pay for contributory wrongful
death above the policy limits, and also combined with state officials
committing criminal] acts to protect the conspirators by a pattern of conduct
to conceal this conspiracy obstructing the workers compensation proceedings

and thus all combined are defrauding Hopkins and thus enriching Country

40
Companies and Christian Homes Inc and causing damages in excess of
$1.700.000, justifying damages in excess of 1.7 million dollars in that:

[1]

That it is herein realleged and incorporated herein by reference as if stated
in its entirety paragraphs {1} through {29} of the Statement of Case Facts, as
paragraphs {2} through {30} of Count II, as if fully stated herein,

Wherefore Judgment is demanded against the above named defendants
under the RICO act in excess of ten million dollars.
Count III.
It is alleged based on the above facts that cause of action under Title II of

the ADA exists for reason the specific Defendants identified herein:

the Illinois Workers Compensation Commission, Michael Latz, Chairman
of the Illinois Workers compensation commission, Nancy Lindsay, Mario
Basurto, Two unidentified workers compensation commission members,
Wiliam Gallagher, the Illinois Department of Insurance Regulation,

Have refused to accommodate and then defrauded a disabled person by

state officials intentionally denying access to transcripts of all of the
proceedings, and denying forensic review thus obstructing the prosecution of
the unlawful combination of multiple private businesses in a conspiracy to
commit workers compensation fraud that resulted in the Felony Murder
and/or Negligent Homicide of Cindy Hopkins, that became state action by the
arbitrators committing criminal acts of obstruction of justice to protect the
defendants from legal consequence of the conspiracy under state law. In
addition the arbitrators blocked access to medical review and respondents for
no reason other than to prevent a disabled person on a known fixed income
from proving claims, imposing an impossible pleading burden on a disabled
poor person and defrauded him. This is part of a pattern of conduct that
poses a clear and present danger to the public that has already caused one or

more deaths, defrauded Cindy’s estate and defrauded Hopkins as a disabled

person causing damages in excess of $1. 700.000.

4]
[1]

That it is herein realleged and incorporated herein by reference as if stated

in its entirety paragraphs {1} through {29} of the Statement of Case Facts, as

paragraphs {2} through {30} of Count ITI, as if fully stated herein,

[31]

That Injunctive relief is justified as follows:

(a)

(b)

(c)

That the Court should enjoin the State Workers compensation
arbitrators from denying access to transcripts when a pauper is
disabled under Title II of the ADA thus enforcing the intent and
purpose of rule 20 for prevention of institutional fraud that violates
the first and 14th amendments.

That the Court should enjoin the State Workers compensation
arbitrators from denying access without an IME to medical experts
and reasonable medical care under rule 8(a) in any case of a self
insured employer denying filed workers compensation claims
without the prior use of an IME, so to enforce the intent and
purpose of rule 8(a), and this injunction is to be effective regardless
of whether or not the employee is alive or dead for the prevention of
fraud and curtailment of obstruction of justice.

That the Court should enjoin the State Workers compensation
arbitrators from refusing to hear and vacate judgments invalidated

for reason of fraud upon the court.

Wherefore Judgment is demanded against the above named defendants
for injunctive relief under title IT of the ADA and restraining above
defendants and appropriate damages.

Count IV:

It is alleged based on the above facts that cause of action under the

Workers compensation act exists against the specific Defendants identified

herein:

Christian Homes Inc, Timothy Philippe CEO of Christian Homes Inc
Lewis Memorial Christian Village, Cochran Management Services inc, the
Law firm of Thomas, Mamer, and Haughey, Senior partner Bruce Warren,

42
the Illinois Workers Compensation Commission, Michael Latz, Chairman of
the Illinois Workers compensation commission, Lisa Langley, Dee Dee
Wagner, Laurie Hill, Paula Ryan, Amy Zayer, Doctor Michael Watson, Dr,
Trudeau, Nancy Lindsay, Mario Basurto, Two unidentified workers
compensation commission members, William Gallagher, Eric Chovanec, the
Illinois Department of Insurance Regulation, St Johns Hospital, Country
Companies Insurance Company, Barbara Collins,

For reason they have, by the unlawful coordinated combination of private

businesses with persons employed by these businesses and those who are
associated with these businesses, who engaged in a conspiracy to commit
workers compensation fraud to defeat a workers compensation claim
resulting in the Homicide of Cindy Hopkins, combined with the enterprise
providing insurance coverage for the car accident that contributed to the
homicide, post mortem abetting the workers compensation fraud so that the
enterprise did not have to pay for contributory wrongful death above the
policy limits, and also combined with state officials committing criminal acts
to protect the conspirators by a pattern of conduct to conceal this conspiracy
obstructing the workers compensation proceedings and thus all combined are
defrauding Hopkins and thus enriching Country Companies and Christian
Homes Inc and causing damages in excess of $1.700.000.

[1]

That it is herein realleged and incorporated herein by reference as if stated
in its entirety paragraphs {1} through {29} of the Statement of Case Facts, as
paragraphs {2} through {30} of Count IV, as if fully stated herein.

Wherefore Judgment 1s demanded against the above named defendants for
violation of the Workers comp act rule 25.5 1n excess of 1.7 million dollars.
Count V:
It is alleged based on the above facts that cause of action for wrongful

death exists against the specific Defendants identified herein:

Christian Homes Inc, Timothy Phillippe CEO of Christian Homes Inc
Lewis Memorial Christian Village, Cochran Management Services inc, the
Law firm of Thomas, Mamer. and Haughey, Senior partner Bruce Warren,
lisa Langley, Dee Dee Wagner, Laurie Hill, Paula Ryan, Amy Zayer, Doctor
Michael Watson, Dr. Trudeau, the Illinois Department of Insurance
Regulation, St Johns Hospital.

43
Have allegedly caused wrongful death by the combination of three private
businesses and participating persons in a conspiracy to commit workers
compensation fraud that resulted in the Felony Murder and/or Negligent
Homicide of Cindy Hopkins, A wrongful death that became state action by
state officials committing criminal acts to protect the defendants from legal

consequence of the conspiracy under state law. This defrauded Cindy’s estate,
causing damages in excess of $700.000.

[1]

That it is herein realleged and incorporated herein by reference as if stated
in its entirety paragraphs {1} through {29} of the Statement of Case Facts, as
paragraphs {2} through {30} of Count V, as if fully stated herein,

Wherefore Judgment is demanded under 740 ILCS 180/0.01 against the
above named defendants in excess of $700.000 each for wrongful death.

Count VI:
It is an alleged tort of negligent spoliation based on the above facts that

the specific Defendants identified herein:

Christian Homes Inc, Timothy Phillippe CEO of Christian Homes Inc,
Lewis Memorial Christian Village, Cochran Management Services inc, the
Law firm of Thomas, Mamer, and Haughey, Senior partner Bruce Warren,
the Illinois Workers Compensation Commission, Michael Latz, Chairman of
the Illinois Workers compensation commission, Lisa Langley, Dee Dee
Wagner, Laurie Hill Paula Ryan, Amy Zayer, Doctor Michael Watson, Dr,
Trudeau, Nancy Lindsay, Mario Basurto, Two unidentified workers
compensation commission members, William Gallagher, Eric Chovanec, the
Illinois Department of Insurance Regulation, St Johns Hospital,

Have allegedly spoliated the case by use of fraud to prevent the making of

legitimate records, and corruption of medical records by the unlawful
combination of three private businesses in a conspiracy to commit workers
compensation fraud that resulted in the Homicide of Cindy Hopkins, that
became state action by state officials committing criminal acts to protect the
defendants from legal consequence of the conspiracy under state law.
Evidence was tampered with, destroyed, and prevented from being made, and

obstructed by state action for the illegal purpose of promoting a RICO

44
conspiracy to commit workers compensation fraud. This is part of a pattern of
conduct by preventing proof of claims that poses a clear and present danger

to the public that has already caused one or more deaths, defrauded Cindy’s

estate, while causing damages in excess of $1. 700.000.

[1]

That it is herein realleged and incorporated herein by reference as if stated
in its entirety paragraphs {1} through {29} of the Statement of Case Facts, as
paragraphs {2} through {30} of Count VI, as if fully stated herein,

[31]

That spoliation of case records is a natural consequence of a conspiracy to
commit fraud that justifies default damages for the entire claim that a party
is entitled to, but is unable to prove due to the conspiracy destroying and
preventing making of records.

Wherefore Judgment is demanded against the above named defendants in

excess of $1. 700.000.
Count VII:
It is an alleged tort of unjust enrichment based on the above facts that the

specific Defendants identified herein:

Christian Homes Inc, Timothy Phillippe CEO_of Christian Homes Ince,
Lewis Memorial Christian Village, Cochran Management Services inc, the
Law firm of Thomas, Mamer, and Haughey, Senior partner Bruce Warren,
the Illinois Workers Compensation Commission, Michael Latz, Chairman of
the Illinois Workers compensation commission, Lisa Langley, Dee Dee
Wagener, Laurie Hill, Paula Ryan, Amy Zayer, Doctor Michael Watson, Dr,
Trudeau, Nancy Lindsay, Mario Basurto, Two unidentified workers
compensation commission members, Wiliam Gallagher, Eric Chovanec, the
illinois Department of Insurance Regulation, St Johns Hospital, Country
Companies Insurance Company, Barbara Collins,

Have spoliated the case precluding any possibility of due process resulting

in the Unjust enrichment of one or more criminal enterprises by the unlawful
combination of three private businesses in a RICO based conspiracy to
commit workers compensation fraud that resulted in the Homicide of Cindy

Hopkins, that became state action by state officials committing criminal acts

45
and felony fraud of a disabled person as Evidence was tampered with,
destroyed, and prevented from being made, and access to records and those
who could make records was obstructed by state and private action for the
illegal purpose of promoting a RICO conspiracy to commit workers
compensation fraud. This is part of a pattern of conduct by preventing proof
of claims that poses a clear and present danger to the public that has already
caused one or more deaths, defrauded Hopkins of Cindy’s estate, causing
damages in excess of $1. 700.000.
[1]

That it is herein realleged and incorporated herein by reference as if stated
in its entirety paragraphs {1} through {29} of the Statement of Case Facts, as
paragraphs {2} through {30} of Count VII, as if fully stated herein,

Wherefore Judgment 1s demanded for unjust enrichment against the above
named detendants in excess of 1.7 million dollars.

Count VIII:

It is an alleged tort of egregious emotional harm and distress based on the

above facts that the specific Defendants identified herein:

Christian Homes Inc, Timothy Phillippe CEO of Christian Homes Inc,
Lewis Memortal Christian Village, Cochran Management Services inc, the
Law firm of Thomas, Mamer, and Haughey, Senior partner Bruce Warren,
lisa Langley, Dee Dee Wagner, Laurie Hill, Paula Ryan, Amy Zayer, Doctor
Michael Watson, Dr. Trudeau, St Johns Hospital Nancy Lindsay, Mario
Basurto, Two unidentified workers compensation commission members,
William Gallagher, Eric Chovanec, the Illinois Department of Insurance

Regulation,
Have caused egregious emotional distress by the unlawful combination of

private businesses in a conspiracy to commit workers compensation fraud
that resulted in the Homicide of Cindy Hopkins, that then became state
action by state officials committing criminal acts to protect the defendants
from legal consequence of the conspiracy under state law for the illegal
purpose of promoting a RICO conspiracy. This aggravated the injury while
denying access to proper medical care to prevent proof of claims for just

closure. This is part of a pattern of conduct that caused severe harm

46
compounded by state action deliberately preventing proof of claims that poses
a clear and present danger to the public that has already caused one or more
deaths, defrauded Hopkins and Cindy’s estate, while causing damages in
excess of $1. 700.000.

[1]

That it is herein realleged and incorporated herein by reference as if stated
in its entirety paragraphs {1} through {29} of the Statement of Case Facts, as
paragraphs {2} through {30} of Count VIII, as if fully stated herein,

Wherefore Judgment 1s demanded against the above named defendants in

excess of 1,7 million dollars.
IV.
NOW COMES PLAINTIFF, GLENN J. HOPKINS, complaining against

the DEFENDANT MARY BAUMAN and states as follows:

1. That at all times relevant to approximately 4:05 pm on or about the
sixteenth day of April, 2006, the Plaintiff, GLENN HOPKINS was the
operator of a certain motor vehicle identified as a white 1987 Mercury Cougar
that was owned by CINDY HOPKINS, insured by Safe Auto Insurance
Company under policy IL00018628a00, which was stopped in a generally
southerly direction on 11 street in the intersection with Madison street in
the City of Springfield, County of Sangamon, State of Illinois.

2. That at all times relevant to approximately 4:05 pm on or about the
sixteenth day of April, 2006, the Defendant MARY BAUMAN, was the owner
and operator of a vehicle identified as a 2001 Chevy Blazer operated by
Defendant Mary Bauman, insured by Country Companies, under policy #
al2a3272250, proceeding in a generally southerly direction on 11‘ street at
or near the intersection with Madison street in the City of Springfield,
County of Sangamon, State of Illinois.

3. That at all times relevant on the date in question, the Defendant Mary
Bauman owed a duty to the Plaintiff(s) to exercise ordinary care and caution
with respect to her operation of Defendants motor vehicle on the public

streets and roadways.

47
4. That notwithstanding that duty, the Defendant Mary Bauman was then
and there guilty of the following careless and negligent acts and omissions:

A. Carelessly and negligently failed to stop Defendants vehicle to prevent
the vehicle from coming into contact with the Plaintiffs vehicle which had
the right of way;

B. Carelessly and negligently pulled into the intersection of 11 and
Madison when it was not safe to do so resulting in an accident:

C. Carelessly and negligently failed to stop or swerve Defendants vehicle to
avoid a collision with Hopkins stopped vehicle; and;

D. Carelessly and negligently operated Defendants motor vehicle at a
speed excessive under the circumstances resulting in an accident.

5. As a direct and proximate result of one or more of the aforesaid
negligent acts or omissions of Defendant Mary Bauman, Plaintiff Glenn
Hopkins was damaged and sustained severe permanent physical injury, and
has aggravated prior existing injury which have caused severe pain and will
continue in the future to cause pain and suffering.

Wherefore the Plaintiff, GLENN J HOPKINS, prays that a judgment be
entered against Defendant Mary Delaney aka Bauman in excess of Fifty
Thousand dollars ($50.000) together with attorney fees and costs of this suit.

Count VI

NOW COMES PLAINTIFF, CINDY HOPKINS (DECEASED) BY GLENN
J. HOPKINS, Appointed Administrator, complaining of wrongful death
against the Defendant, Mary Delaney aka Bauman, states as follows:

1. That at all times relevant to approximately 4:05 pm on or about the
sixteenth day of April, 2006, the Plaintiff, CINDY HOPKINS was the owner
and passenger of a certain motor vehicle identified as a white 1987 Mercury
Cougar that was insured by Safe Auto Insurance Company under policy
IL00018628a00, which was stopped in a generally southerly direction on 11h
street at or near the intersection with Madison street in the City of

Springfield, County of Sangamon, State of I]linois.

48
2. That at all times relevant at approximately 4:05 pm on or about the
sixteenth day of April, 2006, the Defendant MARY BAUMAN, was the owner
and operator of a vehicle identified as a 2001 Chevy Blazer operated by
Defendant Mary Bauman, insured by Country Companies, under policy #
al2a3272250, in a generally southerly direction on 11‘ street at or near the
intersection with Madison street in the City of Springfield, County of
Sangamon, State of Illinois.

3. That at all times relevant on the date in question, the Defendant Mary
Bauman owed a duty to the Plaintiff(s) to exercise ordinary care and caution
with respect to operation of Defendants motor vehicle on the public streets
and roadways.

4. That notwithstanding that duty, the Defendant Mary Bauman was then
and there guilty of the following careless and negligent acts and omissions:

A. Carelessly and negligently failed to stop Defendants vehicle to prevent
it from coming into contact with Plaintiffs vehicle that had the right of way;

B. Carelessly and negligently pulled into the intersection when it was not
safe to do so resulting in a foreseeable accident:

C. Carelessly and negligently failed to stop or swerve Defendants vehicle to
avoid a collision; and;

D. Carelessly and negligently operated Defendants motor vehicle at a
speed excessive under the circumstances resulting in an accident.

5. That Cindy Sue Hopkins, at the time and place of the above alleged
motor vehicle accident on April 16, 2006, was prior injured and recovering
from surgery which was again injured, resulting in death as follows:

{A} That Cindy suffered a rupture of her diaphragm due to Aggravated
Battery in the workplace on July 27, 2005, and was denied medical treatment
for reason of workers compensation fraud resulting in indigence, see in Re}
Cindy Hopkins (deceased) v Christian Homes, Case # 10 WC 012571.

{B} That Cindy’s workplace injury to her ruptured diaphragm was
surgically repaired as an indigent on or about March 7, 2006 by Dr.

49
Hazelrigg, at issue in another proceeding, note in Re; Cindy Hopkins
(deceased) v Christian Homes, Case # 10 WC 012571.

{C} That the impact allegedly ruptured Cindy Hopkins surgically repaired
diaphragm resulting in a subsequent severe paraeshopogeal hernia that
eventually resulted in liver failure and death.

6. As a direct and proximate result of one or more of the aforesaid
negligent acts or omissions of Defendant Mary Bauman, Plaintiff CINDY
HOPKINS property was damaged, and Cindy sustained severe permanent
physical injury, and aggravated prior existing injury which RESULTED IN
DEATH.

Wherefore the Plaintiff, GLENN J HOPKINS on behalf of Cindy Hopkins
deceased, prays that a judgment be entered against Defendant Mary Delaney
aka Bauman in excess of Fifty Thousand dollars ($50.000) together with

attorney fees and costs of this suit.
Count VIII.

That it is herein alleged that a motor vehicle accident occurred resulting
in personal injury to the above named plaintiffs and the alleged subsequent
wrongful death of Cindy Hopkins for which Country Companies refused to
settle for wrongful death, entitling Plaintiff and the estate to damages in
excess of $50.000.

1. That at all times relevant at approximately 4:05 pm on or about the
sixteenth day of April, 2006, the Plaintiff, GLENN HOPKINS was the
operator of a certain motor vehicle identified as a white 1987 Mercury Cougar
that was owned by CINDY HOPKINS, insured by Safe Auto Insurance
Company under policy 1L00018628a00, which was stopped in a generally
southerly direction on 11* street at or near the intersection with Madison
street in the City of Springfield, County of Sangamon, State of Illinois.

2. That at all times relevant at approximately 4:05 pm and on or about the
sixteenth day of April, 2006, the Defendant MARY BAUMAN was the owner
and operator of a vehicle identified as a 2001 Chevy Blazer operated by

50
Defendant Mary Bauman, insured by Country Companies, under policy #
al2a3272250, proceeding in a generally southerly direction on 11* street at
or near the intersection with Madison street in the City of Springfield,
County of Sangamon, State of [linois.

3. That at all times relevant on the date in question, the Defendant Mary
Bauman owed a duty to the Plaintiff(s) to exercise ordinary care and caution
with respect to operation of Defendants motor vehicle on the public streets
and roadways.

4. That notwithstanding that duty, the Defendant Mary Bauman was then
and there guilty of the following careless and negligent acts and omissions:

A. Carelessly and negligently failed to stop Defendants vehicle to prevent
it from coming into contact with plaintiffs vehicle that had the right of way;

B. Carelessly and negligently pulled into the intersection when it was not
safe to do so resulting in an accident:

C. Carelessly and negligently failed to stop or swerve Defendants vehicle to
avoid a collision; and;

D. Carelessly and negligently operated Defendants motor vehicle at a
speed excessive under the circumstances resulting in a foreseeable accident.

5. As a direct and proximate result of one or more of the aforesaid
negligent acts or omissions of Defendant Mary Bauman, Plaintiff Glenn
Hopkins was damaged and sustained severe permanent physical injury, and
has aggravated prior existing injury which have caused severe pain and will
continue in the future to cause pain and suffering.

6. That Cindy Sue Hopkins, at the time and place of the above alleged
motor vehicle accident on April 16, 2006, was prior injured as follows:

{A} That Cindy suffered a rupture of her diaphragm, due to aggravated
battery in the workplace on July 27, 2005, and was denied medical treatment
for reason of workers compensation fraud, see in Re; Cindy Hopkins

(deceased) v Christian Homes, Case # 10 WC 012571.

51
{B} That Cindy’s workplace injury to her ruptured diaphragm was
surgically repaired on or about March 7, 2006 by Dr. Hazelrigg, at issue in
another proceeding, note in Re; Cindy Hopkins (deceased) v Christian Homes,
Case # 10 WC 012571.

{C} That the impact allegedly ruptured Cindy Hopkins surgically repaired
diaphragm resulting in a subsequent severe paraeshopogeal hernia that
eventually resulted in death.

7. As a direct and proximate result of one or more of the aforesaid
negligent acts or omissions of Defendant Mary Delaney aka Bauman,
Plaintiff CINDY HOPKINS property was damaged, and Cindy sustained
severe permanent physical injury, and aggravated prior existing injury which
have caused severe pain and RESULTED IN DEATH.

8. That on or shortly thereafter the date of 4/21/2011, a settlement demand
for the policy limit was made upon Barb Collins in her capacity as attorney
for Country Companies, which was refused in alleged bad faith.

9. That Barbara Collins in bad faith committed records tampering......

Wherefore the Plaintiff, GLENN J HOPKINS on behalf of Cindy Hopkins
deceased, prays that a judgment be entered against Defendant Mary Bauman
for reason of her insurance company refusing in Bad Faith failure to Settle
for wrongful death in excess of Fifty Thousand dollars ($50.000).

VERIFICATION
I, Glenn Joseph Hopkins, of legal age and competent to testify, being

duly sworn under oath, presents that I am the plaintiff of this action, I know
the contents of the complaint, and that the information in the complaint is
true to the best of my knowledge and belief.

I also herein do attest and affirm under the known penalty of Perjury that
the foregoing is true based on being a witness to the matters in controversy,
and that the evidence contained within the document identified as Complaint

Evidence Affidavit in support of this complaint is true and correct except as

52
Case: 4:15-cv-00065-ERW Doc. #: 1 Filed: 01/12/15 Page: 53 of 53 PagelD #: 53

to statements made upon information and belief, and as to those statements
made upon information and belief, I do believe them also to be true.

Witness my hand under the penalties of perjury this Le (222018

 

Signature

Signed and sealed before me in my capacity as Notary Public, on this

‘A [24f1 f of 201% This person presented evidence of his identity. In
the form of /4 DRWERS 21 Cl/VU Se

Signature; Khan 7 peat

My commission expires:

 
  

OFFICIAL BEAL
SHAWN P BUVAL

Notary Public - State of Illinois
My Commission Expires May 15, 2017

   

 

 
     

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